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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                 Eastern Division

Argentum Medical, LLC, et al.
                                    Plaintiff,
v.                                                 Case No.: 1:11−cv−08594
                                                   Honorable Sharon Johnson Coleman
Joseph Fuchs, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 15, 2013:


        MINUTE entry before Honorable Sharon Johnson Coleman: The parties' joint
motion [52] for dismissal is granted. This cause is dismissed with prejudice pursuant to
the parties' settlement agreement. Defendants' objection to a finding of good faith
settlement is accordingly rendered moot. Status hearing set to 7/22/2013 is stricken. No
court appearance is necessary on 7/22/2013. Civil case terminated. Mailed notice(rth, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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